Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 1 of 27 PageID #: 1231
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  1                         IN THE UNITED STATES DISTRICT COURT

  2                           FOR THE DISTRICT OF RHODE ISLAND

  3

  4
         * * * * * * * * * * * * * * * *             C.R. NO. 15-120M
  5                                    *
         UNITED STATES OF AMERICA      *
  6                                    *
             VS.                       *             FEBRUARY 29, 2016
  7                                    *             10:00 A.M.
         RAFFAELE MARZIALE             *
  8                                    *
         * * * * * * * * * * * * * * * *             PROVIDENCE, RI
  9

10                    BEFORE THE HONORABLE JOHN J. McCONNELL, JR.,

11                                        DISTRICT JUDGE

12
                                    (Change of Plea Hearing)
13

14       APPEARANCES:

15       FOR THE GOVERNMENT:          SANDRA R. HEBERT, AUSA
                                      U.S. Attorney's Office
16                                    50 Kennedy Plaza
                                      Providence, RI 02903
17
         FOR THE DEFENDANT:           THOMAS F. CONNORS, ESQ.
18                                    454 Broadway
                                      Providence, RI 02903
19
         Court Reporter:              Karen M. Wischnowsky, RPR-RMR-CRR
20                                    One Exchange Terrace
                                      Providence, RI 02903
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Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 2 of 27 PageID #: 1232
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  1      29 FEBRUARY 2016 -- 10:00 A.M.

  2                THE COURT:     Good morning, everyone.          We're here

  3      this morning for a change of plea in the case of the

  4      United States versus Raffaele Marziale.

  5                THE DEFENDANT:       Yes.

  6                THE COURT:     Did I say it right?         Criminal Action

  7      Number 15-120-03.        Would counsel identify themselves

  8      for the record, please.

  9                MS. HEBERT:      Sandra Hebert for the United

10       States.

11                 THE COURT:     Good morning, Ms. Hebert.

12                 MR. CONNORS:      Thomas F. Connors for

13       Mr. Marziale, your Honor.

14                 THE COURT:     Good morning, Mr. Connors.

15                 MR. CONNORS:      Good morning, your Honor.

16                 THE COURT:     Mr. Marziale, would you stand, and

17       Ms. McGuire will swear you in.

18                 (Defendant sworn.)

19                 THE CLERK:     Would you please state your name and

20       spell your last name for the record.

21                 MR. CONNORS:      Raffaele Marziale,

22       M-A-R-Z-I-A-L-E.

23                 THE COURT:     Mr. Marziale, would you just pull

24       the microphone in close to you.

25                 Actually, Tom, the thing has popped off of it.
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 3 of 27 PageID #: 1233
                                                                                  3



  1      Great.     Thanks.

  2                Mr. Marziale, you're under oath, and that

  3      requires you to give me truthful answers to the

  4      questions I ask.        Do you understand that?

  5                THE DEFENDANT:       Yes, your Honor.

  6                THE COURT:     Okay.     And if you fail to give me

  7      truthful answers, further charges can be brought

  8      against you, like perjury or other charges.                Do you

  9      understand that as well?

10                 THE DEFENDANT:       Yes, your Honor.

11                 THE COURT:     Now, Mr. Marziale, there's a plea

12       agreement in this case that you signed, your attorney

13       signed, the Government signed.            Do you recall signing

14       that plea agreement?

15                 THE DEFENDANT:       Yes, I do.

16                 THE COURT:     Okay.     And did you sign that plea

17       agreement after you read it?

18                 THE DEFENDANT:       Yes.

19                 THE COURT:     And did you sign that plea agreement

20       after you discussed it thoroughly with your attorney?

21                 THE DEFENDANT:       Yes, I did.

22                 THE COURT:     And did he answer any questions that

23       you had about that plea agreement?

24                 THE DEFENDANT:       Yes, he did.

25                 THE COURT:     And did you knowingly and
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 4 of 27 PageID #: 1234
                                                                                  4



  1      voluntarily sign that plea agreement?

  2                THE DEFENDANT:       Yes, I did.

  3                THE COURT:     Sir, how old are you?

  4                THE DEFENDANT:       Forty-two.

  5                THE COURT:     And how far did you go in school?

  6                THE DEFENDANT:       A couple years of community

  7      college.     I'm a couple credits short of an associate's

  8      degree, I believe.

  9                THE COURT:     And have you been treated recently

10       for any mental illness or addiction to narcotic drugs?

11                 THE DEFENDANT:       No.

12                 THE COURT:     And as you sit here today, are you

13       under the influence of any medication, drugs or

14       alcoholic beverages of any kind?

15                 THE DEFENDANT:       Well, I have a medical

16       condition, so I take medication every day.

17                 THE COURT:     Okay.       What medicines do you take?

18       What medicines did you take yesterday or today?

19                 THE DEFENDANT:       I take medicine for my lungs.           I

20       have pulmonary hypertension.            Do you need the names of

21       the medicines or --

22                 THE COURT:     If you know them.

23                 THE DEFENDANT:       Yes.     TYVASO, it's an inhaling

24       device.     It's a liquid medicine that goes in a

25       nebulizer.      I do that four times a day.           Adcirca,
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 5 of 27 PageID #: 1235
                                                                                  5



  1      they're two pills.        They're for my lungs, to keep the

  2      pressure down.       Letairis is another pill for my lungs.

  3      Omeprazole, it's a pill for pre-pharynx cancerous

  4      disease.     I have scleroderma as well.           Amlodipine, it's

  5      for -- I have Raynaud's.          And a couple others, like

  6      vitamins, stuff I don't have the names.

  7                THE COURT:     Do any of the medications that

  8      you're taking now affect your ability to think clearly?

  9                THE DEFENDANT:       No.

10                 THE COURT:     Do they cloud your head at all in

11       any fashion?

12                 THE DEFENDANT:       No.

13                 THE COURT:     Do they make you sleepy?

14                 THE DEFENDANT:       Sometimes.

15                 THE COURT:     When's the last time you took any of

16       the medications that make you sleepy?

17                 THE DEFENDANT:       Well, it depends.        I don't

18       remember, but sometimes I can get joint pain and

19       fatigued.

20                 THE COURT:     As you sit here today, have any of

21       the medications affected your ability to think clearly?

22                 THE DEFENDANT:       No.

23                 THE COURT:     You feel fully -- despite the number

24       of drugs that you're taking for various conditions, do

25       you feel that you're able to make decisions in your own
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 6 of 27 PageID #: 1236
                                                                                  6



  1      best interest today?

  2                THE DEFENDANT:       Absolutely.

  3                THE COURT:     And your mind is clear?

  4                THE DEFENDANT:       Yes.

  5                THE COURT:     Okay.     Now, in addition to the plea

  6      agreement, have you reviewed the Indictment, that is,

  7      the written charges that the Government has brought

  8      against you in this case?

  9                THE DEFENDANT:       Yes, I did.

10                 THE COURT:     And did you review those with your

11       attorney?

12                 THE DEFENDANT:       Yes, I did.

13                 THE COURT:     And did he answer any questions that

14       you have about the Indictment or the consequences of

15       the Indictment?

16                 THE DEFENDANT:       Yes, he did.

17                 THE COURT:     And, Mr. Marziale, are you

18       completely satisfied with the representation that

19       you've received from your attorney in this case?

20                 THE DEFENDANT:       Yes, I am.

21                 THE COURT:     Now, sir, if you change your plea to

22       guilty -- strike that.          Under the Constitution and laws

23       of this country, you have certain rights.                If you

24       change your plea to guilty, you'll give up the rights

25       that you currently have under the Constitution and laws
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 7 of 27 PageID #: 1237
                                                                                  7



  1      that I'm about to tell you.

  2                I want to make sure that you understand that you

  3      have these rights and that by changing your plea to

  4      guilty, you'll give up these rights.

  5                THE DEFENDANT:       I understand.

  6                THE COURT:     You have a right to plead not guilty

  7      as you have so far, and you have a right to continue in

  8      that plea of not guilty.

  9                If you were to continue in the plea of not

10       guilty, you would be entitled to a trial by a jury.                   At

11       that trial, the Government would have to prove each and

12       every element of the charges it brings against you

13       beyond a reasonable doubt.

14                 At that trial you would have a right to see,

15       hear, confront, cross-examine, have your attorney do

16       so, all of the evidence and the witnesses that the

17       Government would put on in order to prove its case

18       against you.

19                 You would also have a right to present evidence

20       in your own defense.         In fact, you could compel people,

21       subpoena them, to come to court to testify in your

22       defense.

23                 You would also have a right to testify at that

24       trial.     Perhaps more importantly, though, you would

25       have a right not to testify.            And if you chose not to
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 8 of 27 PageID #: 1238
                                                                                  8



  1      testify, that fact could not be used against you by the

  2      jury or the Court or anyone else.

  3                You also have a right to counsel, and the Court

  4      would appoint counsel for you if you couldn't otherwise

  5      afford one; and the Court would appoint counsel for you

  6      throughout all of the proceedings.

  7                But if you change your plea to guilty, you'll be

  8      giving up all of these rights that you have and there

  9      will be no trial.        Do you understand that you have

10       these rights?

11                 THE DEFENDANT:       Yes, I do.

12                 THE COURT:     And do you understand that if you

13       change your plea to guilty, there will be no trial and

14       you'll give up all of these rights?

15                 THE DEFENDANT:       Yes, I do.

16                 THE COURT:     Now, sir, has anyone in any way

17       attempted to force you to plead guilty or threatened

18       you in any way to get you to plead guilty?

19                 THE DEFENDANT:       No.

20                 THE COURT:     Has anyone made any promises or

21       assurances to you other than what's contained in the

22       plea agreement in order to get you to plead guilty in

23       this case?

24                 THE DEFENDANT:       No.

25                 THE COURT:     So are you knowingly and voluntarily
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 9 of 27 PageID #: 1239
                                                                                  9



  1      asking this Court to allow you to change your plea to

  2      guilty because you believe at this time it's in your

  3      personal best interest to do so?

  4                THE DEFENDANT:       Yes.

  5                THE COURT:     Now, I want to describe to you what

  6      the maximum penalties are that you face at the time of

  7      sentencing for the five counts.             My understanding is

  8      that you're prepared to plead guilty to Counts I, V,

  9      VI, XIII and XIX; is that correct?

10                 THE DEFENDANT:       Yes.

11                 THE COURT:     As to Counts I, V and VI, as to

12       each of those counts, there's a maximum period of

13       incarceration of 30 years, a maximum fine of one

14       million dollars, a period of supervised release of five

15       years, and there will be a $100 mandatory special

16       assessment.

17                 As to Counts XIII and XIX, there's a mandatory

18       two-year consecutive period of incarceration,

19       consecutive to the sentence that's imposed as to

20       Counts I, V or VI, there's a $250,000 maximum fine, a

21       one-year period of supervised release and a $100

22       mandatory special assessment.

23                 Now, if the Court were to impose the maximum

24       sentence as to each of the counts and if the Court were

25       to impose them consecutively, meaning to be served
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 10 of 27 PageID #: 1240
                                                                                 10



  1       consecutively, meaning one after the other, then the

  2       maximum period of incarceration the Court could impose

  3       is 94 years, there's a $3.5 million fine, up to 17

  4       years of supervised release, and there will be a $500

  5       mandatory special assessment.

  6                Do you understand that these are the penalties,

  7       the maximum penalties, that the Court could impose at

  8       the time of sentencing?

  9                THE DEFENDANT:       Yes, I do.

 10                THE COURT:      Do you also understand that if the

 11       Court imposes a period of supervised release, that if

 12       you violate any of the conditions of supervised

 13       release, further jail time can be brought upon you?                  Do

 14       you understand that as well?

 15                THE DEFENDANT:       Yes, I do.

 16                THE COURT:      Mr. Marziale, are you a citizen of

 17       the United States?

 18                THE DEFENDANT:       Yes, I am.

 19                THE COURT:      As a citizen of the United States,

 20       you have certain valuable civil rights that you could

 21       lose by pleading guilty to this felony.

 22                You could lose the right to vote, the right to

 23       hold public office, the right to serve on a jury and

 24       the right to possess any kind of firearm or ammunition.

 25                Do you understand that you could lose these
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 11 of 27 PageID #: 1241
                                                                                 11



  1       valuable civil rights if you plead guilty to these

  2       felonies?

  3                THE DEFENDANT:       Yes, I do.

  4                THE COURT:      Ms. Hebert, are there forfeiture

  5       allegations?

  6                MS. HEBERT:      No, your Honor.

  7                THE COURT:      Okay.    Thanks.

  8                Now, I want to make sure you understand how the

  9       Court will determine what an appropriate sentence is in

 10       this case.     At some point after the change of plea,

 11       you'll be asked to meet with the Probation Department

 12       next door in the Pastore Building.

 13                You have a right to have your attorney present

 14       with you for that interview, and I encourage you to

 15       make sure your attorney is present with you for that

 16       interview.

 17                The Probation Department will interview you, and

 18       then they'll conduct other investigation, and they'll

 19       prepare a presentence report.           That report will give me

 20       information about your background and various other

 21       information that the Court will use at the time of

 22       sentencing.

 23                It will also calculate the advisory sentencing

 24       guidelines.      Those are guidelines that assist the Court

 25       in determining what an appropriate sentence may be.
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 12 of 27 PageID #: 1242
                                                                                 12



  1       The Court has not determined what the advisory

  2       sentencing guidelines are yet.

  3                Now, your attorney may have calculated what he

  4       thinks they'll be or the Government may have calculated

  5       them and told your attorney what it thinks they may be.

  6       I won't determine the advisory sentencing guidelines

  7       until after the presentence report is issued.

  8                Your attorney and the Government's attorney have

  9       a chance to object to the calculation, I'll rule on the

 10       objections, and then I'll determine at the time of

 11       sentencing what the appropriate advisory guideline

 12       range is.

 13                Do you understand as we sit here today we don't

 14       know what the advisory guideline range is?

 15                THE DEFENDANT:       Yes, I do.

 16                THE COURT:      Do you also understand, though, that

 17       you made certain concessions that will affect the

 18       guideline range?

 19                So you made a concession that the amount of loss

 20       here falls in between $250,000 and $550,000.                That will

 21       affect the guideline range.          Do you understand that?

 22                THE DEFENDANT:       Yes, I do.

 23                THE COURT:      Do you understand that you've agreed

 24       to that range?

 25                THE DEFENDANT:       Yes.
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 13 of 27 PageID #: 1243
                                                                                 13



  1                THE COURT:      Okay.    Do you also understand that

  2       you've agreed that the crime involved here involved

  3       more than 10 victims and that by agreeing to that, that

  4       that will, in fact, affect the guideline range?                 Do you

  5       understand that as well?

  6                THE DEFENDANT:       Yes.

  7                THE COURT:      Okay.    You won't have a right to

  8       object to either of those two as part of the guideline

  9       calculation.      Do you understand that?

 10                THE DEFENDANT:       Yes.

 11                THE COURT:      Do you also understand that as part

 12       of the plea agreement you've agreed to waive any right

 13       to appeal the sentence that the Court imposes if the

 14       sentence is at or below the guideline range?                Do you

 15       understand that as well?

 16                THE DEFENDANT:       Yes.

 17                THE COURT:      Okay.    And, finally, do you

 18       understand that in the federal system at this time

 19       parole has been abolished; that is, there is no right

 20       to apply for parole from incarceration?              You will serve

 21       the entire time that the Court imposes, minus some time

 22       off for good behavior, but there is no right to apply

 23       for parole the way there is in the state system.                 Do

 24       you understand that as well?

 25                THE DEFENDANT:       Yes.
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 14 of 27 PageID #: 1244
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  1                THE COURT:      I'm going to ask the U.S. Attorney,

  2       Assistant U.S. Attorney now to -- not U.S. Attorney

  3       yet, maybe some day, to tell us what the facts are

  4       that -- to tell us what the elements of the five counts

  5       are that you're prepared to plead guilty to and to tell

  6       us what facts the Government would introduce if this

  7       case were to go to trial.

  8                I want you to pay particular attention to the

  9       facts because at the end of it, I'm going to ask if you

 10       admit the facts as stated by the Government as true.

 11       Okay?

 12                THE DEFENDANT:       Yes.

 13                THE COURT:      Ms. Hebert.

 14                MS. HEBERT:      Yes, your Honor.        The elements of

 15       conspiracy to commit bank fraud are as follows:                 First,

 16       that the conspiracy charged in the Indictment existed

 17       between at least two people to commit bank fraud;

 18       second, the Defendant willfully joined in the

 19       agreement; and third, that one of the co-conspirators

 20       committed an overt act during the period of the

 21       conspiracy in an effort to further the purpose of the

 22       conspiracy.

 23                The elements of bank fraud are as follows:

 24       First, the financial institutions alleged in this case

 25       to be Washington Mutual Bank, Flagstar Bank, Bank of
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 15 of 27 PageID #: 1245
                                                                                 15



  1       America, Wells Fargo and Sierra Pacific were federally

  2       insured or were Federal Reserve banks or members of the

  3       Federal Reserve system; second, the Defendant engaged

  4       in a scheme substantially as charged in the Indictment

  5       to defraud or made false statements or

  6       misrepresentations to obtain money from the

  7       institution; and third, that the Defendant acted

  8       knowingly.

  9                The elements of aggravated identity theft are as

 10       follows:     First, that the Defendant committed the crime

 11       of conspiracy to commit bank fraud and bank fraud;

 12       second, that during and in relation to those crimes,

 13       Defendant knowingly transferred, possessed or used

 14       without lawful authority the means of identification

 15       described in the Indictment.

 16                Finally, with respect to some counts, the

 17       Defendant is charged with aiding and abetting.                The

 18       elements of aiding and abetting are, first, that

 19       someone else committed the charged crime and, second,

 20       that the Defendant consciously shared the person's

 21       knowledge of the underlying criminal act, intended to

 22       help him and willfully took part in the endeavor

 23       seeking to make it succeed.

 24                Had this case proceeded to trial, the

 25       Government's evidence would have established the
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 16 of 27 PageID #: 1246
                                                                                 16



  1       following facts with regard to the Defendant:                First,

  2       the Government would ask the Court to incorporate the

  3       facts alleged in the Indictment.

  4                Secondly, the Government would have established

  5       the following:       Beginning on or about October 9th,

  6       2007, and continuing until on or about December 16th,

  7       2013, the Defendant, Raffaele Marziale, conspired with

  8       real estate attorney and broker Louis Marandola, loan

  9       originator Brian McCaffrey, loan processor Lauren

 10       Sienko, real estate agent Gina Ronci Mohamed and real

 11       estate investor Edwin Rodriguez to commit bank fraud in

 12       connection with the purchase, sale and mortgage

 13       financing of residential real estate.

 14                The conspirators devised an elaborate scheme to

 15       fraudulently obtain residential real estate loans, many

 16       of them insured by the Federal Housing Administration,

 17       through the submission of false documents to lenders

 18       and the concealment of material facts from those

 19       lenders.

 20                The co-conspirators also stole money from the

 21       buyers and sellers of real estate who had sought

 22       assistance from the conspirators with real estate

 23       transactions.      They often did this by creating two sets

 24       of documents accounting for the expenses associated

 25       with the real estate transaction.
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 17 of 27 PageID #: 1247
                                                                                 17



  1                Prior to June 2010, Marziale worked as a loan

  2       officer for Evergreen Mortgage Advisors in Lincoln,

  3       Rhode Island.      Marandola, McCaffrey and Sienko worked

  4       in the same office building as Marziale in Lincoln,

  5       Rhode Island.

  6                In 2007, Marziale and Sienko assisted McCaffrey

  7       in obtaining a mortgage loan from Washington Mutual

  8       Bank to purchase 15 Metcalf Street, Providence, Rhode

  9       Island, a property owned by Marandola and Joseph

 10       Picozzi, Marziale's employer at this time.

 11                McCaffrey's loan application included false

 12       supporting documents, including a false HUD-1 form

 13       prepared by Marandola and a false verification of

 14       mortgage form signed by Sienko.            The verification of

 15       mortgage form was also signed by McCaffrey and

 16       Marandola's wife.

 17                Washington Mutual ultimately approved

 18       McCaffrey's loan based in part upon the fraudulent

 19       documents submitted.

 20                Marandola, through his real estate escrow and

 21       title insurance business, Amerititle, LLC, served as

 22       the settlement agent for the closing of McCaffrey's

 23       fraudulently obtained Washington Mutual loan.

 24                Several years later in 2010, Marandola moved his

 25       law office to 715 Branch Avenue, Providence, Rhode
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 18 of 27 PageID #: 1248
                                                                                 18



  1       Island.    McCaffrey, who accepted a job as a branch

  2       manager for Sierra Pacific Mortgage Company in 2010,

  3       decided to share office space and expenses with

  4       Marandola unbeknownst to Sierra Pacific.

  5                 Sienko, who was hired by Sierra Pacific to serve

  6       as a loan processor, went with McCaffrey to 715 Branch

  7       Avenue.

  8                 In July 2011, Marandola and Amerititle were

  9       barred from serving as settlement agent by Sierra

 10       Pacific.     As a result, Marandola created Clean Close

 11       Title & Escrow.

 12                 In order to continue to do business with

 13       Marandola, who paid expenses associated with the Branch

 14       Avenue operation, McCaffrey and Sienko represented to

 15       Sierra Pacific that Attorney Robert McNelis served as

 16       the closing attorney on behalf of Clear Close when, in

 17       fact, the loans were closed by Marandola.

 18                 Marziale moved to Branch Avenue with Marandola,

 19       McCaffrey and Sienko.         Marziale, who had been unable to

 20       obtain a loan originator license despite multiple

 21       attempts, began to work as a loan officer under

 22       McCaffrey's name and license.           Marziale did this with

 23       McCaffrey's knowledge and consent.

 24                 To conceal Marziale and Marandola's involvement

 25       from their supervisors and corporate personnel at
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 19 of 27 PageID #: 1249
                                                                                 19



  1       Sierra Pacific, McCaffrey and Sienko asked Marziale and

  2       Marandola to leave the offices when Sierra Pacific

  3       personnel came for a visit.

  4                In order to effectuate the scheme, each

  5       co-conspirator had a role to play without which this

  6       scheme could not have succeeded.            Marandola, who served

  7       as the settlement or closing agent on the fraudulent

  8       real estate transactions alleged in the Indictment,

  9       controlled the funds through his escrow account, paying

 10       expenses of the scheme and paying Marziale, McCaffrey,

 11       Sienko and others for their efforts to close the loans.

 12                Marandola created and approved false documents

 13       as part of the scheme.         Marziale, working as a loan

 14       officer, often impersonated McCaffrey with prospective

 15       borrowers.

 16                Marziale created or caused to be created false

 17       documents in support of the loans which he then

 18       provided to Sienko and McCaffrey for submission to

 19       Sierra Pacific.

 20                It was Marziale's practice to e-mail McCaffrey

 21       and Sienko when he had a borrower coming who thought

 22       Marziale was McCaffrey so that they would know to play

 23       along.    Sienko assisted Marziale by directing borrowers

 24       to contact Brian at Marziale's number.

 25                McCaffrey and Sienko as Sierra Pacific employees
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 20 of 27 PageID #: 1250
                                                                                 20



  1       submitted the loan documents for loans originated by

  2       Marziale to Sierra Pacific under McCaffrey's name and

  3       license.     McCaffrey, who received compensation from

  4       Sierra Pacific for loans originated by Marziale, caused

  5       Sierra Pacific to compensate Marziale for his work by

  6       submitting false invoices to Sierra Pacific for

  7       marketing services.

  8                Through these false invoices, McCaffrey caused

  9       Sierra Pacific to pay Marziale for marketing when, in

 10       fact, Marziale was working as an unlicensed loan

 11       officer.

 12                Ronci worked as a real estate agent under

 13       Marandola.     She assisted the conspirators in getting

 14       approval for the loans sought by creating documents and

 15       listing properties, giving the false impression that

 16       she actually listed and marketed the properties when,

 17       in fact, she did not.         She did this so as to give the

 18       false impression that the real estate transactions were

 19       arm's length.

 20                Many of the fraudulent loans described in the

 21       Indictment and originated by Marziale through McCaffrey

 22       and Sienko were for properties owned by Rodriguez under

 23       the name of family members.

 24                These properties include 50 Chatham Street,

 25       35 Robin Street, 55 Gillen Street, 71 Wallace Street
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 21 of 27 PageID #: 1251
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  1       and 46 Magdalene Street.

  2                 Additionally, 71-73 Parnell Street was owned by

  3       an associate of Rodriguez's.           Rodriguez recruited

  4       buyers for the homes and had them apply for a loan

  5       through Marziale, McCaffrey and Sienko.

  6                 Marziale, McCaffrey and Sienko had no contact

  7       with the borrowers.        They went through Rodriguez, and

  8       they did not verify documents provided to them by

  9       Rodriguez.

 10                 When Marziale needed a verification of rent form

 11       or an insurance binder completed for the loan

 12       application, he asked Rodriguez to complete the forms.

 13       He was initially directed to do this by McCaffrey and

 14       Sienko who had worked with Rodriguez in the past.

 15                 As alleged in Count VI of the Indictment,

 16       Marziale obtained a false verification of rent form,

 17       false bank statements and a false insurance binder from

 18       Rodriguez in connection with the loan for 35 Robin

 19       Street.

 20                 For the 35 Robin Street loan, as well as the

 21       other loans associated with properties owned by

 22       Rodriguez, Marandola did not collect a down payment and

 23       Attorney McNelis was falsely listed as the closing

 24       attorney on documents submitted to Sierra Pacific.

 25                 Several other properties involved in this scheme
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 22 of 27 PageID #: 1252
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  1       were properties owned or controlled by Marandola and

  2       Marziale or their associates, such as 63 Wendell

  3       Street, 52-54 Bergen Street, 61 Ledge Street, 12 Sue

  4       Street and 245-47 Jewett Street.

  5                In some instances, buyers were located by

  6       Rodriguez, who was paid for his efforts, and in other

  7       instances Marziale located a buyer.

  8                With these loans, fraudulent supporting

  9       documents were submitted, no down payment was collected

 10       and Attorney McNelis was falsely identified as the

 11       closing attorney.

 12                Additionally, Ronci was falsely identified as a

 13       real estate agent negotiating the transactions when, in

 14       fact, the transactions were negotiated or arranged by

 15       Marziale and Marandola or, in the case of 245-47 Jewett

 16       Street, the seller of the property.

 17                As alleged in Counts V and XIII of the

 18       Indictment, 12 Sue Street was a property owned by DQ.

 19       Marziale recruited a buyer for this property, JT, a

 20       young woman who was a friend of his family member.

 21                Marandola caused paperwork to be submitted to

 22       the seller, DQ, indicating that the property sold for

 23       $55,000.     Meanwhile, Marziale caused false paperwork to

 24       be submitted to Sierra Pacific reflecting that the

 25       property sold for $175,000.
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 23 of 27 PageID #: 1253
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  1                DQ's signature was forged on documents submitted

  2       to Sierra Pacific.        Marziale signed documents falsely

  3       representing that JT was his niece, giving the false

  4       impression that he was an approved source of gift funds

  5       for the down payment.

  6                JT, a first-time home buyer, purchased 12 Sue

  7       Street with a federally insured loan in the amount of

  8       $175,563.     She has since defaulted on this loan.

  9                As alleged in Count XIX of the Indictment,

 10       Marziale and Marandola employed similar techniques in

 11       arranging for the purchase of 61 Ledge Street in the

 12       name of Marziale's mother.

 13                The documents and funds provided to DQ, the

 14       seller, reflected that the sale price was $62,000.

 15       However, Marziale obtained a loan from Sierra Pacific

 16       in his mother's name in the amount of $171,830

 17       purportedly to purchase 61 Ledge Street from DQ.

 18                To obtain approval for the loan, he and

 19       Marandola caused DQ's name to be forged on documents

 20       submitted to Sierra Pacific and deeds filed with the

 21       City of Providence.

 22                By engaging in this scheme, Marziale was and the

 23       other co-conspirators were unjustly enriched at the

 24       expense of lenders, the FHA, buyers and, on occasion,

 25       sellers.
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 24 of 27 PageID #: 1254
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  1                THE COURT:      Thanks, Ms. Hebert.

  2                Mr. Marziale, you've heard the elements of the

  3       charges that the Government has brought against you

  4       that you -- I understand you're prepared to plead

  5       guilty to.

  6                Do you understand that the Government would have

  7       to prove each and every one of those elements beyond a

  8       reasonable doubt in order for you to be found guilty of

  9       any of those counts?

 10                THE DEFENDANT:       Yes, I do.

 11                THE COURT:      You also heard the facts that the

 12       Government would prove if this case were to go to

 13       trial.    Do you admit the facts as stated by the

 14       Government as true?

 15                THE DEFENDANT:       Yes, I do.

 16                THE COURT:      Before I ask you about your change

 17       of plea, do you have any questions for the Court or do

 18       you want to confer with your attorney about any matter?

 19                THE DEFENDANT:       No.   I'm okay.

 20                THE COURT:      How do you now plead, Mr. Marziale,

 21       to Counts I, V, VI, XIII and XIX of the Indictment

 22       brought against you, guilty or not guilty?

 23                THE DEFENDANT:       Guilty.

 24                THE COURT:      This Court has heard from the

 25       Government the evidence it would present if this matter
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 25 of 27 PageID #: 1255
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  1       were to go to trial.        The Court has questioned the

  2       Defendant regarding his understanding of the nature of

  3       the proceedings and the consequences of entering a plea

  4       of guilty to the charge.

  5                It is, therefore, the finding of this Court in

  6       the case of the United States versus Raffaele Marziale

  7       that the Defendant is fully capable and competent of

  8       entering an informed plea, that the Defendant is aware

  9       of the nature of the proceedings and the consequences

 10       of the plea and that the plea of guilty is a knowing

 11       and voluntary plea supported by an independent basis in

 12       fact containing each of the essential elements of the

 13       charges; and, therefore, the plea is accepted, and the

 14       Defendant is now adjudged guilty of those charges.

 15                Sentencing will be set down for May 24th, 2016,

 16       at 10 a.m.

 17                Ms. Hebert, anything further for the Government?

 18                MS. HEBERT:      No, your Honor.

 19                THE COURT:      Any position on Mr. Marziale's

 20       continued release?

 21                MS. HEBERT:      No objection to continued release,

 22       your Honor.

 23                THE COURT:      Okay.    Thanks.

 24                Mr. Connors, anything further for Mr. Marziale?

 25                MR. CONNORS:      No, your Honor.        Thank you.
Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 26 of 27 PageID #: 1256
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  1                 THE COURT:     Mr. Marziale, the conditions that

  2       were placed upon you at the time of your initial

  3       arraignment and release remain in full force and effect

  4       until the time of sentencing.           Do you understand that?

  5                 THE DEFENDANT:      Yes, your Honor.

  6                 THE COURT:     Great.    We'll stand adjourned.

  7       Thanks.

  8                 (Adjourned.)

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Case 1:15-cr-00120-JJM-PAS Document 148 Filed 05/24/17 Page 27 of 27 PageID #: 1257
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  1                                 C E R T I F I C A T I O N

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  4                          I, Karen M. Wischnowsky, RPR-RMR-CRR, do

  5       hereby certify that the foregoing pages are a true and

  6       accurate transcription of my stenographic notes in the

  7       above-entitled case.

  8

  9                          ___June 27, 2016

 10                          Date

 11

 12

 13                          /s/ Karen M. Wischnowsky________________

 14                          Karen M. Wischnowsky, RPR-RMR-CRR
                             Federal Official Court Reporter
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